The relatrix asks a peremptory writ of mandamus to compel the respondent to divide a $6500.00 death benefit award equally among the relatrix and two *Page 317 
others, all of whom were total dependents of the decedent, Clarence Price.
No abuse of discretion is claimed.
The whole contention of the relatrix is that under the provisions of Section 1465-83, the respondent, the Industrial Commission, is vested with no authority except to make an equal division of an award among those totally dependent upon the decedent.
The pertinent part of that section reads as follows:
"The benefits in case of death, shall be paid to such one or more of the dependents of the decedent, for the benefit of all the dependents as may be determined by the industrial commission of Ohio, which may apportion the benefits among the dependents in such manner as it may deem just and equitable * * *."
The court is of the view that this language is clear and unambiguous, and that there is nothing to the contrary in the context to prevent the Industrial Commission from apportioning "the benefits among the dependents in such manner as it may deem just and equitable."
On consideration whereof it is ordered and adjudged that the demurrer of the Industrial Commission to the petition of the relatrix be, and the same hereby is, sustained, and, upon the issues raised by the pleadings, the writ of mandamus is denied.
Writ denied.
WEYGANDT, C.J., STEPHENSON, WILLIAMS, MATTHIAS, DAY and ZIMMERMAN, JJ., concur.
JONES, J., not participating. *Page 318 